Case 1:04-cv-01295-.]DT-STA Document 8 Filed 04/21/05 Page 1 of 2 Page/|B 4
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¢5` <>Z»
IN TI-IE UNITED STATES DISTRICT COURT n ¢99 '\_` §
FOR TI-IE WESTERN DISTRICT OF TENNESSEE s:’/;C;b_\ <j,
EASTERN DIVISION '?»2~\ :;i‘,'.'( y ‘\ §
</(;i:O/<` 43 433 "[,
JAMES FREDERICI<, § /;;/€p:}@j 189
"'? {P"i,//
§ NO. 1-04-1295-T 935/§§
v. § 4 '
§
ELI LILLY & COMPANY, ET AL. §

AGREED ORDER OF DISMISSAL
The parties being in agreement, and the Court being otherwise sufficiently
advised,
IT IS I-IEREBY ORDERED AND AD]UDGED that the claims of Plaintiff
]ames Frederick, only, against Defendant, ]anet Ambler, only, are hereby

DISMISSED WITI-I PRE]UDICE by stipulation and agreement

v‘f`_
Entered on this tha;]£__ day of én%@* , 2005.

]UD UNITED STATES DlsTR-ICT
COU

COPIES TO ALL COUNSEL

`lhls document entered on the docket sheet ln compliance

with Rule 58 and,'or_?$ (a) FRCP on §§ ~ éa`l~ 625

 

UNITSED`ATES DISTRICT COURT - WESTENR D"ISRICT oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 1:04-CV-01295 Was distributed by faX, mail, or direct printing on
April 22, 2005 to the parties listed.

 

 

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Honorable .1 ames Todd
US DISTRICT COURT

